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                                    UNITED STATES BANKRUPTCY COURT
                                       MIDDLE DISTRICT OF FLORIDA
                                            ORLANDO DIVISION
                                            www.flmb.uscourts.gov


   In re :                                                                            Case No. 6:18-05950-CCJ
                                                                                      Chapter 7

   Rodolfo Terrazas, Sr.,
                           Debtor(s).
   ____________________________________/

                MOTION FOR ORDER APPROVING SALE OF ESTATE’S INTEREST IN
                 NON-HOMESTEAD REAL ESTATE IN LAKE COUNTY, FLORIDA

        Trustee, Marie E. Henkel, by and through her undersigned counsel, moves this Court for authority to
   sell the estate’s interest in real property on the following terms :
   1. The property to be sold is the estate’s interest in non-homestead residential real estate in Lake County,
        Florida, said real estate being more particularly described as follows :
                    NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING

            Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper without further
   notice or hearing unless a party in interest files a response within twenty-one (21) days from the date set forth on
   the attached proof of service, plus an additional three days for service if any party was served by U.S. Mail. You
   should read these papers carefully and discuss them with your attorney if you have one. If the paper is an objection
   to your claim in this bankruptcy case, your claim may be reduced, modified, or eliminated.

            If you object to the relief requested in this paper, you must file a response with the Clerk of the U.S.
   Bankruptcy Court, 400 W. Washington St., Ste. 5100, Orlando, FL 32801 and serve a copy on Marie E. Henkel,
   Trustee, 3560 S Magnolia Ave., Orlando, FL 32806; Kristen L. Henkel, Esq., 3560 S. Magnolia Ave., Orlando, FL
   32806; U. S. Trustee, 400 W. Washington St., Ste. 1100, Orlando, FL 32801; and any other appropriate persons
   within the time allowed. If you file and serve a response within the time permitted, the Court will either schedule
   and notify you of a hearing or consider the response and grant or deny the relief requested without a hearing.

             If you do not file a response within the time permitted, the Court will consider that you do not oppose the
   relief requested in the paper, will proceed to consider the paper without further notice or hearing, and may grant
   the relief requested.
             Lot 233, THE CASCADES OF GROVELAND – PHASE 1, according to the plat thereof as
             recorded in Plat Book 54, Pages 52 through 65, inclusive, of the Public Records of Lake
             County, Florida.

             Parcel ID No. 26-21-25-2000-000-23300
             a/k/a 163 Crepe Myrtle Drive, Groveland, FL 34736

2. Manner of Sale : The buyer has been procured through the efforts of the estate’s realtor, Kavita Hanisha
                 Uttamchandani, of Century 21 Carioti, and BK Global Real Estate Services (“BKRES”). The
                 buyer has made an earnest money deposit in the amount of $3,000.00, and is ready to complete
                 the purchase for the sales price indicated below, upon approval of the sale by the Court. Trustee
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                 proposes to convey whatever interest the Estate has in the property to the Buyer upon approval
                 of this Motion.
3. Terms of Sale :
    a. Buyer :       Carobelle’s Cottages, LLC
                     13345 Rainbow Ln.
                     Clermont, FL 34715

    b. Sales Price : $222,500.00
    c. Appraised Value : The property is assessed by the Lake County Property Appraiser with a value of
    $216,505.00. The property was listed on November 23, 2018 and produced multiple offers, the current
    contract being the best.
    d. Costs of Sale : This is a lender approved short sale and the lender has agreed to pay the following costs
    associated with transfer of title :
            Real Estate Commission & Costs                            $ 13,350.00
            Closing Fee (includes overnight courier & wire fees)           950.00
            Title Search                                                   100.00
            Owner’s Title Policy                                         1,187.50
            Recording Fees                                                 270.50
            Documentary Stamp Tax on Deed                                1,557.50
            Bankruptcy Estate Carve Out                                 11,000.00
            Trustee Liability Insurance                                    650.00
            Final Utility Bill(s)                                          440.00 *
            Mortgage Payoff                                            176,052.80 *
            Municipal Lien Search/Payoff                                   400.00 *
            Prorated 2019 Property Tax                                   3,605.46 *
            Prorated Homeowners Association Dues                         1,186.96 *
            Homeowners Association Delinquent Dues & Fees                9,649.28 *
            Homeowners Association Transfer Fee                            500.00 *
            Homeowners Association Estoppel Fee & Update                 1,600.00 *
            Total                                                    $ 222,500.00
    * estimate
    The net proceeds to the estate are $11,000.00. The lender has agreed to accept a minimum payment of
    $176,052.80 as full payment and satisfaction of their mortgage, and any excess funds resulting from
    overestimate of closing costs will be applied to the payoff. The short sale approval letter, which includes
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terms and conditions of the Short Sale and the Discounted Payoff Agreement, is attached as Exhibit “A.”
The trustee believes this sale to be of benefit to the estate.
e. Trustee intends to transfer title to the property by trustee’s deed, subject to current year’s taxes,
assessments, zoning, restrictions, and other requirements imposed by governmental authorities, and other
matters appearing on the plat or otherwise common to the subdivision, and public utility easements of public
record.
f. The estate will provide a trustee’s deed to the buyer and certified copies of the Order approving sale,
Notice of Commencement of bankruptcy and of the docket, reflecting no objections to the sale, or if any,
that said objections were overruled by Court Order. Trustee is unaware of the existence of any liens or
encumbrances on the property except as disclosed above. There are no adverse tax consequences of the
sale to the estate.
g. The Trustee respectfully requests that this Court: (a) waive the 14-day stay pursuant to Rule 6004(h),
deem the sale order enforceable immediately upon entry, and authorize the Trustee to close on the sale
immediately upon entry of the Final Sale Order; (b) authorize the Trustee to take all actions and execute all
documents she deems reasonable, necessary and/or desirable to effectuate the requested relief; (c) retain
sole and exclusive personal subject matter jurisdiction to implement, interpret and enforce the terms of this
Motion and the Final Sale Order; and (d) adjudicate all claims, controversies and/or disputes arising from
or related to this sale.
          WHEREFORE, Trustee moves this Court to enter an Order authorizing the sale of the property as
set forth above, waive the 14-day stay pursuant to Rule 6004(h), and approve the terms and conditions of
the Short Sale and the Discounted Payoff Agreement.
          I HEREBY CERTIFY that a true and correct copy of the foregoing Motion was furnished by first
class United States Mail, postage prepaid, or by electronic delivery, on October 9, 2019, to Carobelle’s
Cottages, LLC, 13345 Rainbow Ln., Clermont, FL 34715; and to all persons on the mailing matrix, attached
to the original of this document, as furnished by the Clerk’s office on October 9, 2019.


                                                    /s/ Kristen L. Henkel
                                                    Kristen L. Henkel, Esq.
                                                    Florida Bar No. 81858
                                                    M. E. Henkel, P.A.
                                                    3560 South Magnolia Avenue
                                                    Orlando, Florida 32806
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